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 18    TECH TAS, INC.

 19                        UNITED STATES DISTRICT COURT
 20                       CENTRAL DISTRICT OF CALIFORNIA

 21 PAVEMETRICS SYSTEMS, INC.                     CASE NO.: 2:21-CV-1289 MCS-MMA
 22                    Plaintiffs,
            v.                                    FIRST AMENDED STIPULATED
 23                                               PROTECTIVE ORDER
 24 TETRA TECH, INC.                              Honorable Maria A. Audero
 25                    Defendants.
 26
 27
       AND RELATED COUNTERCLAIMS.
 28
                                              1
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   1                FIRST AMENDED STIPULATED PROTECTIVE ORDER
   2          WHEREAS, Plaintiff and Counterclaim Defendant Pavemetrics Systems, Inc.
   3   (“Pavemetrics”) and Defendant and Counterclaim Plaintiff Tetra Tech, Inc. and
   4   Counterclaim Plaintiff Tetra Tech TAS Inc. (collectively “Tetra Tech”), hereafter
   5   referred to as “the Parties,” believe that certain information that is or will be encompassed
   6   by discovery demands by the Parties involves the production or disclosure of trade
   7   secrets, confidential business information, or other proprietary information;
   8          WHEREAS, the Parties seek a protective order limiting disclosure thereof in
   9   accordance with Federal Rule of Civil Procedure 26(c):
 10           THEREFORE, it is hereby stipulated among the Parties and ORDERED that:
 11           1.    Each Party may designate as confidential for protection under this Order, in
 12    whole or in part, any document, information, or material that constitutes or includes, in
 13    whole or in part, confidential or proprietary information or trade secrets of the Party or a
 14    Third Party to whom the Party reasonably believes it owes an obligation of confidentiality
 15    with respect to such document, information, or material (“Protected Material”). Protected
 16    Material shall be designated by the Party producing it by affixing a legend or stamp on
 17    such   document,     information,    or   material    as   follows:   “CONFIDENTIAL,”
 18    “RESTRICTED – ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL
 19    SOURCE CODE.” The words “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’
 20    EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE” shall be placed
 21    clearly on each page of the Protected Material (except deposition and hearing transcripts)
 22    for which such protection is sought. For deposition and hearing transcripts, the words
 23    “CONFIDENTIAL,”          “RESTRICTED         –   ATTORNEYS’           EYES    ONLY,”      or
 24    “RESTRICTED CONFIDENTIAL SOURCE CODE” shall be placed on the cover page
 25    of the transcript (if not already present on the cover page of the transcript when received
 26    from the court reporter) by each attorney receiving a copy of the transcript after that
 27    attorney receives notice of the designation of some or all of that transcript as
 28    “CONFIDENTIAL,”          “RESTRICTED         –   ATTORNEYS’           EYES    ONLY,”      or
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   1   “RESTRICTED CONFIDENTIAL SOURCE CODE.”
   2         2.     With respect to documents, information, or material designated
   3   “CONFIDENTIAL,         “RESTRICTED         –     ATTORNEYS’            EYES   ONLY,”    or
   4   “RESTRICTED          CONFIDENTIAL              SOURCE        CODE”        (“DESIGNATED
   5   MATERIAL”), 1 subject to the provisions herein and unless otherwise stated, this Order
   6   governs, without limitation: (a) all documents, electronically stored information, and/or
   7   things as defined by the Federal Rules of Civil Procedure; (b) all pretrial, hearing or
   8   deposition testimony, or documents marked as exhibits or for identification in depositions
   9   and hearings; (c) pretrial pleadings, exhibits to pleadings and other court filings; (d)
 10    affidavits; and (e) stipulations. All copies, reproductions, extracts, digests and complete
 11    or partial summaries prepared from any DESIGNATED MATERIAL shall also be
 12    considered DESIGNATED MATERIAL and treated as such under this Order.
 13          3.     A   designation    of   Protected    Material    (i.e.,    “CONFIDENTIAL,”
 14    “RESTRICTED – ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL
 15    SOURCE CODE”) may be made at any time. Inadvertent or unintentional production of
 16    documents, information, or material that has not been designated as DESIGNATED
 17    MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential
 18    treatment. Any party that inadvertently or unintentionally produces Protected Material
 19    without designating it as DESIGNATED MATERIAL may request destruction of that
 20    Protected Material by notifying the recipient(s), as soon as reasonably possible after the
 21    producing Party becomes aware of the inadvertent or unintentional disclosure, and
 22    providing replacement Protected Material that is properly designated. The recipient(s)
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              The term DESIGNATED MATERIAL is used throughout this Protective
       Order to refer to the class of materials designated as “CONFIDENTIAL,”
 27    “RESTRICTED – ATTORNEYS’ EYES ONLY,” or “RESTRICTED
       CONFIDENTIAL SOURCE CODE,” both individually and collectively.
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   1   shall then destroy all copies of the inadvertently or unintentionally produced Protected
   2   Materials and any documents, information, or material derived from or based thereon.
   3         4.     “CONFIDENTIAL” documents, information and material may be disclosed
   4   only to the following persons, except upon receipt of the prior written consent of the
   5   designating party, upon order of the Court, or as set forth in paragraph 13 herein:
   6                a.     outside counsel of record in this Action for the Parties and employees
   7   of such counsel assigned to and reasonably necessary to assist such counsel in the
   8   litigation of this Action, except that: (i) as separately agreed to by the Parties, Alissa
   9   Green, Ryan Davies, David Reese are prohibited from accessing any CONFIDENTIAL
 10    documents or any other Protected Material or DESIGNATED MATERIAL, and (ii) any
 11    Finnegan attorneys who directly or indirectly communicated with Pavemetrics during the
 12    question and answer portion at Pavemetrics’ webinar on April 21, 2021, or participated
 13    in such communications or approved the decision to do so, are prohibited from accessing
 14    any CONFIDENTIAL documents or any other Protected Material or DESIGNATED
 15    MATERIAL;
 16                 b.     four designated representatives, including up to one in-house counsel,
 17    of each of the Parties to the extent reasonably necessary for the litigation of this Action
 18    provided that before access is given, the designated representative has completed the
 19    Undertaking attached as Exhibit A hereto and the same is served upon the producing
 20    Party at least five (5) days before access to the Protected Material;
 21                 c.     outside consultants or experts (i.e., not existing employees or
 22    affiliates of a Party or an affiliate of a Party) retained for the purpose of this litigation or
 23    the co-pending Canadian litigation between the Parties (Canadian Federal Court File No.
 24    T-1301-21) (the “Foreign Action”), except that Nikos Papanikolopoulos and any other
 25    technical expert retained by Tetra Tech or Finnegan who attended Pavemetrics’ webinar
 26    on April 21, 2021, are prohibited from accessing any CONFIDENTIAL documents or
 27    any other Protected Material or DESIGNATED MATERIAL, provided that: (1) such
 28    consultants or experts are not employed by the Parties for purposes other than this Action
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   1   or the Foreign Action; (2) before access is given, the consultant or expert has completed
   2   the Undertaking attached as Exhibit A hereto and the same is served upon the producing
   3   Party, with a current curriculum vitae of the consultant or expert and a list of cases in
   4   which the consultant or expert has testified at trial or by deposition within the preceding
   5   five years, and an identification of any patents or public patent applications that identify
   6   the consultant or expert as an inventor, or the consultant or expert is involved in
   7   prosecuting or maintaining, or has any pecuniary interest, at least five (5) days before
   8   access to the Protected Material is to be given to that consultant or expert to allow the
   9   producing Party to object to and notify the receiving Party in writing that it objects to
 10    disclosure of Protected Material to the consultant or expert. The Parties agree to promptly
 11    confer and use good faith to resolve any such objection. If the Parties are unable to resolve
 12    any objection, the objecting Party may file a motion with the Court within ten (10) days
 13    of the notice, or within such other time as the Parties may agree, seeking a protective
 14    order with respect to the proposed disclosure. The objecting Party shall have the burden
 15    of proving the need for a protective order. No disclosure shall occur until all such
 16    objections are resolved by agreement or Court order;
 17                 d.      independent litigation support services, including persons working for
 18    or as court reporters, graphics or design services, jury or trial consulting services,
 19    photocopy, document imaging, and database services, contract attorneys, and private
 20    mediators, retained by counsel and reasonably necessary to assist counsel with the
 21    litigation of this Action or the Foreign Action;
 22                 e.      the Court (including any Court-appointed mediators or advisors) and
 23    its personnel; and
 24                 f.      foreign counsel of record for the Parties retained for the purpose of
 25    the Foreign Action, and employees of such counsel assigned to and reasonably necessary
 26    to assist such foreign counsel in the Foreign Action.
 27          5.     A Party shall designate documents, information, or material as
 28    “CONFIDENTIAL” only upon a good faith belief that the documents, information, or
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   1   material contains confidential or proprietary information or trade secrets of the Party or
   2   a Third Party to whom the Party reasonably believes it owes an obligation of
   3   confidentiality with respect to such documents, information, or material.
   4         6.     DESIGNATED MATERIAL shall be used by the Parties only in the
   5   litigation of this Action or the Foreign Action and shall not be used for any other purpose.
   6   Any person or entity who obtains access to DESIGNATED MATERIAL or the contents
   7   thereof pursuant to this Order shall not make any copies, duplicates, extracts, summaries,
   8   or descriptions of such DESIGNATED MATERIAL or any portion thereof except as may
   9   be reasonably necessary in the litigation of this Action or the Foreign Action. Any such
 10    copies, duplicates, extracts, summaries, or descriptions shall be classified DESIGNATED
 11    MATERIAL and subject to all the terms and conditions of this Order.
 12          7.     To the extent a producing Party believes that certain Protected Material
 13    qualifying to be designated CONFIDENTIAL is so sensitive that its dissemination
 14    deserves even further limitation, including confidential sales or financial information and
 15    information that represents current or future business or technical trade secrets and plans
 16    that are more sensitive or strategic than CONFIDENTIAL information, the producing
 17    Party may designate such Protected Material “RESTRICTED – ATTORNEYS’ EYES
 18    ONLY,” or to the extent such Protected Material includes computer source code and/or
 19    live data (that is, data as it exists residing in a database or databases) (“Source Code
 20    Material”), the producing Party may designate such Protected Material as
 21    “RESTRICTED CONFIDENTIAL SOURCE CODE.”
 22          8.     For Protected Material designated RESTRICTED – ATTORNEYS’ EYES
 23    ONLY, access to, and disclosure of, such Protected Material shall be limited to
 24    individuals listed in paragraphs 4(a) and (c-f). Designated representatives, including in-
 25    house counsel, shall not have access to Protected Material designated RESTRICTED –
 26    ATTORNEYS’ EYES ONLY.
 27          9.     Access to Protected Material designated RESTRICTED CONFIDENTIAL
 28    SOURCE CODE shall be limited to individuals listed in paragraphs 4a, 4f, and up to two
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   1   (2) outside consultants or experts 2 (i.e., not employees or affiliates of a Party or an
   2   affiliate of a Party) retained for the purpose of this litigation and up to two (2) outside
   3   consultants or experts retained for the purpose of the Foreign Action, approved to access
   4   such Protected Materials pursuant to paragraph 4(c) above, and specifically identified as
   5   eligible to access Source Code Material.
   6                                              Source Code
   7         10.    For Protected Material designated RESTRICTED CONFIDENTIAL
   8   SOURCE CODE, the following additional restrictions apply:
   9                a.     Access to a Party’s Source Code Material shall be provided only on
 10    “stand-alone” computer(s) (that is, the computer may not be linked to any network,
 11    including a local area network (“LAN”), an intranet or the Internet). The stand-alone
 12    computer(s) may be connected to (i) dual computer screens, (ii) a connected mouse, (iii)
 13    a printer and, optionally (iv) a device capable of temporarily storing electronic copies
 14    solely for the limited purposes permitted pursuant to paragraphs 10(j and p) below.
 15    Additionally, except as provided in paragraph 10(p) below, the stand-alone computer(s)
 16    may only be located at the offices of the producing Party’s outside counsel or at a
 17    mutually agreed location (the “Review Facility”). The Review Facility shall be
 18    reasonably accessible to the receiving Party and shall be within the continental United
 19    States.
 20                 b.     The receiving Party shall identify which outside counsel and/or
 21    expert(s) it requests be permitted to access the stand-alone computer and on which days
 22    with at least 3-days’ notice, unless otherwise agreed. The receiving Party shall make
 23    reasonable efforts to restrict its requests for such access to the stand-alone computer(s) to
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               For the purposes of this paragraph, an outside consultant or expert is defined
 26    to include the outside consultant’s or expert’s direct reports and other support
       personnel, such that the disclosure to a consultant or expert who employs others
 27    within his or her firm to help in his or her analysis shall count as a disclosure to a
       single consultant or expert.
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   1   normal business hours, which for purposes of this paragraph shall be 8:00 a.m. through
   2   6:00 p.m. in the time zone of the Review Facility on weekdays. However, upon
   3   reasonable notice from the receiving party, the producing Party shall make reasonable
   4   efforts to accommodate the receiving Party’s request for access to the stand-alone
   5   computer(s) outside of normal business hours. The Parties agree to cooperate in good
   6   faith such that maintaining the producing Party’s Source Code Material at the offices of
   7   its outside counsel or at a mutually agreed location shall not unreasonably hinder the
   8   receiving Party’s ability to efficiently and effectively conduct the prosecution or defense
   9   of this Action.
 10                 c.    The producing Party shall provide the receiving Party with
 11    information explaining how to start, log on to, and operate the stand-alone computer(s)
 12    in order to access the produced Source Code Material on the stand-alone computer(s);
 13                 d.    The producing Party will produce Source Code Material on the stand-
 14    alone computer(s) in a format allowing it to be reasonably reviewed and searched. In
 15    considering what is reasonable, the producing party shall generally provide Source Code
 16    as text written using a human-readable programming language, such as MATLAB, C,
 17    C+, C++, JAVA, or the like, rather than executable files or scripts.
 18                 e.    The receiving Party may, at its own expense, request that the
 19    producing Party install software on Source Code Review computer(s) to perform searches
 20    or analysis of the Source Code Material, such as MATLAB and Simulink for Source
 21    Code Material in MATLAB code, or Understand, for Source Code Material in C, C+,
 22    C++, JAVA, or the like, provided that such other software is necessary for the receiving
 23    Party to perform its review of the Source Code Material consistent with all of the
 24    protections herein. The Parties may agree to other source code analysis tools provided
 25    that such agreement is memorialized by representatives of the Parties in writing. The
 26    receiving Party must provide the producing Party with appropriate access to such
 27    software tools(s) at least five (5) days in advance of the date upon which the receiving
 28    Party wishes to have the additional software available for use on the Source Code Review
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   1   computer(s). Timely requests for the installation of such search software will not be
   2   unreasonably denied so long as the requested search software is compatible with the
   3   operating system, and other software necessary to make the Source Code available for
   4   inspection, installed on a Source Code Review computer(s), does not prevent or impede
   5   the receiving Party’s access to the Source Code Material produced for inspection on
   6   Source Code Review computer(s) and does not side-step any of the security features
   7   enabled on a Source Code Review computer(s) (e.g., enable connection and use of USB
   8   thumb drives). The receiving Party shall not at any time use any compilers, interpreters
   9   or simulators in connection with the producing Party’s Source Code Material. In no event
 10    shall tools be installed on the stand-alone computer that have the effect of altering,
 11    modifying, deleting, copying, or otherwise permitting the reproduction or removal of any
 12    Source Code Material. The receiving Party shall not erase, load, install, compile, or
 13    otherwise modify any program (or request that any other program be erased, loaded,
 14    installed, or otherwise modified by the producing Party) on the Source Code Review
 15    computer(s) without first submitting a written request and obtaining the producing Party’s
 16    agreement to the request;
 17                 f.    No person may possess any input/output device, camera, or any
 18    camera enabled device while accessing the computer containing the Source Code
 19    Material. All persons accessing the Source Code Material must agree to submit to
 20    reasonable security measures to ensure they are not carrying the prohibited input/output
 21    devices specified in this provision before being given access to the computer containing
 22    the Source Code Material.
 23                 g.    The receiving Party’s outside counsel and/or expert shall be entitled
 24    to take written notes relating to the Source Code Material. Terms used in the Source
 25    Code Material may be copied into the notes, but the receiving Party’s outside counsel
 26    and/or expert may not copy complete instruction sets of the Source Code Material into
 27    the notes. No copies of any portion of the Source Code Material may be made. No other
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 1   written or electronic record of the Source Code Material is permitted except as provided
 2   herein. Wholesale copying of the Source Code Material is not permitted.
 3                 h.    A receiving Party may include excerpts of Source Code Material in a
 4   pleading, exhibit, expert report, discovery document, deposition transcript, other Court
 5   document, provided that the Source Code Documents are appropriately marked under this
 6   Order, restricted to those who are entitled to have access to them as specified herein, and,
 7   if filed with the Court, filed under seal in accordance with the Court’s rules, procedures
 8   and orders.
 9                 i.    To the extent portions of Source Code Material are quoted in a Source
10   Code Document, either (1) the entire Source Code Document will be stamped and treated
11   as RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those pages containing
12   quoted Source Code Material will be separately stamped and treated as RESTRICTED
13   CONFIDENTIAL SOURCE CODE;
14                 j.    Except as set forth in paragraph 10(p) below, no electronic copies of
15   Source Code Material shall be made without prior written consent of the producing Party,
16   except as necessary to create documents which, pursuant to the Court’s rules, procedures,
17   and orders, must be filed or served electronically;
18                 k.    The receiving Party shall be permitted to request a reasonable number
19   of pages of Source Code Material be printed by the producing Party, but only if
20   reasonably anticipated by the receiving Party to be necessary for use in, and preparation
21   for, court filings and proceedings, infringement or invalidity contentions, expert reports,
22   and depositions of persons or entities permitted access to “RESTRICTED
23   CONFIDENTIAL SOURCE CODE” information of the producing Party, and such other
24   uses to which the parties may agree or that the Court may order. The receiving Party shall
25   not request prints of Source Code Material in order to review blocks of Source Code
26   Material elsewhere in the first instance, i.e., as an alternative to reviewing that Source
27   Code Material electronically on the Source Code Review computer(s), as the parties
28   acknowledge and agree that the purpose of the protections herein would be frustrated by
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 1   printing portions of code for review and analysis elsewhere, and that printing is permitted
 2   solely to enable use of Source Code Materials in filings, depositions, proceedings,
 3   contentions, expert reports, and related drafts and correspondence. Requests for printed
 4   Source Code Material shall be made by the receiving Party printing the portions of the
 5   Source Code Material requested, and the receiving Party shall maintain a log of all such
 6   files that are printed. In considering what is reasonable, the receiving Party shall not, in
 7   general, request that more than 20 consecutive or 150 total pages of Source Code Material
 8   be printed, which shall be printed using at least 14 point font. In the event that a
 9   producing Party believes that a particular printing request is unreasonable, the producing
10   Party and receiving Party shall meet and confer in good faith to attempt to resolve this
11   dispute without the Court’s involvement. If they cannot resolve the issue, either Party
12   may seek an order from the Court;
13                l.     The printed pages shall be collected by the producing Party and
14   provided to the requesting Party within three (3) business days, unless otherwise agreed
15   or the producing Party objects to the request. The receiving Party shall maintain a record
16   of any individual who has inspected any portion of the Source Code Material in electronic
17   or paper form. Each page of any printed copies of Source Code Material shall be printed
18   on nonwhite, colored paper. After printing, the producing Party shall clearly label each
19   page of any printed copies “RESTRICTED CONFIDENTIAL SOURCE CODE” and
20   give each page a unique identification number;
21                m.     All paper copies shall be securely destroyed if they are no longer
22   necessary in the litigation of this Action or the Foreign Action (e.g., extra copies at the
23   conclusion of a deposition). Copies of Source Code Material that are marked as
24   deposition exhibits shall not be provided to the court reporter or attached to deposition
25   transcripts; rather, the deposition record will identify the exhibit by its production
26   numbers;
27                n.     Any printed pages of Source Code Material may not be copied,
28   digitally imaged or otherwise duplicated, except in limited excerpts necessary to attach
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 1   as exhibits to expert reports or court filings. Should such printouts or photocopies be
 2   transferred back to electronic media, such media shall be labeled “RESTRICTED
 3   CONFIDENTIAL SOURCE CODE” and shall continue to be treated as such;
 4                o.     If the receiving Party’s outside counsel, foreign counsel, consultants,
 5   or experts obtain printouts or photocopies of Source Code Material, the receiving Party
 6   shall ensure that such outside counsel, foreign counsel, consultants, or experts keep the
 7   printouts or photocopies in a secured locked area in the offices of such outside counsel,
 8   foreign counsel, consultants, or expert. The receiving Party may also temporarily keep
 9   the printouts or photocopies at: (i) the Court for any proceedings(s) relating to the Source
10   Code Material, for the dates associated with the proceeding(s); (ii) the sites where any
11   deposition(s) relating to the Source Code Material are taken, for the dates associated with
12   the deposition(s); and (iii) any intermediate location reasonably necessary to transport the
13   printouts or photocopies (e.g., a hotel prior to a Court proceeding or deposition); and
14                p.     A producing Party’s Source Code Material may only be transported
15   by the receiving Party at the direction of a person authorized under paragraph 10(h) above
16   to another person authorized under paragraph 10(h) above, on paper or removable
17   electronic media (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry,
18   Federal Express or other similarly reliable courier. Source Code Material may not be
19   transported or transmitted electronically over a network of any kind, including a LAN, an
20   intranet, or the Internet. Source Code Material may only be transported electronically for
21   the purpose of Court proceeding(s) or deposition(s) as set forth in paragraph 10 and is at
22   all times subject to the transport restrictions set forth herein. But, for those purposes only,
23   the Source Code Materials may be loaded onto a stand-alone computer. Notwithstanding
24   the foregoing, and subject to paragraph 10(h) above, the Parties may transmit by
25   electronic mail certain documents that contain excerpts of Source Code Materials. These
26   documents are expressly limited to expert reports, hearing transcripts, deposition
27   transcripts, and any other documents that the parties agree may be transmitted by email,
28   provided that such agreement is memorialized by representatives of the Parties in writing.
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 1                                    Designation of Source Code
 2         11.    For    purposes    of    this   Protective   Order,    the    “RESTRICTED
 3   CONFIDENTIAL SOURCE CODE” designation means that the document comprises
 4   confidential information including Source Code that is not publicly known and is of
 5   technical or commercial advantage to its possessor, in accordance with Fed. R. Civ. P.
 6   26(c). “RESTRICTED CONFIDENTIAL SOURCE CODE” does not include
 7   information that has been disclosed to the public or third persons in a manner making
 8   such information no longer confidential. Source Code produced in accordance with this
 9   Protective Order will be provided with version control, such that the Source Code
10   includes the following information: (1) version number, (2) dates that the particular
11   version was in service, (3) author, (4) revision history, and (5) comments. If Source Code
12   contains links to external code, such external code will also be produced if it is in the
13   custody and control of the producing Party. External code from libraries is not in the
14   custody or control of the producing Party.
15         12.    Prosecution/Acquisition Bar: Any person (including outside counsel and
16   foreign counsel) permitted to receive the other Party’s Protected Material that is
17   designated RESTRICTED CONFIDENTIAL SOURCE CODE, who obtains, receives,
18   has access to, or otherwise learns, in whole or in part, the other Party’s RESTRICTED
19   CONFIDENTIAL SOURCE CODE under this Order shall not prepare or prosecute, any
20   patent application relating to, or participate in acquisition of rights in patents or patent
21   application relating to, computer vision and/or deep learning systems for inspecting
22   transportation infrastructure. This prohibition includes directly or indirectly drafting,
23   amending, advising, or otherwise affecting the scope or maintenance of patent claims
24   pertaining to computer vision and/or deep learning systems for inspecting transportation
25   infrastructure using light sources, light receivers, and processors in original prosecution
26   or any post-grant proceedings (which includes, without limitation, inter partes review, ex
27   parte reexamination, post-grant review, covered business method review, and reissue
28   proceedings) during the pendency of this Action and the Foreign Action and for two years
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 1   after the conclusion of this Action or the Foreign Action, whichever occurs later,
 2   including any appeals.
 3         13.    Nothing in the Prosecution/Acquisition Bar provision precludes persons
 4   with access to RESTRICTED CONFIDENTIAL SOURCE CODE from representing a
 5   party challenging a patent before a domestic or foreign agency (including but not limited
 6   to inter partes review proceedings, re-examinations, or reissue proceedings). Nothing in
 7   this Prosecution/Acquisition Bar provision shall preclude counsel from participating in
 8   actions relating to settlement of litigation or advising as to issues of legal assessment of
 9   patent validity, infringement, claim scope, or the language of an acquisition contract. Nor
10   shall the Prosecution/Acquisition Bar provision preclude counsel from sending non-
11   confidential prior art to an attorney involved in patent prosecution for purposes of
12   ensuring that such prior art is submitted to the U.S. Patent and Trademark Office (or any
13   similar agency of a foreign government) to assist a patent applicant in complying with its
14   duty of candor.
15         14.    This Prosecution/Acquisition Bar provision shall not bar entire firms, rather
16   only the individuals who receive and review a Party’s RESTRICTED CONFIDENTIAL
17   SOURCE CODE. To ensure compliance with the purpose of the Prosecution/Acquisition
18   Bar provision, each Party shall create an “Ethical Wall” between those persons with
19   access to RESTRICTED CONFIDENTIAL SOURCE CODE and any individuals at the
20   firm who engage in prosecution of patent claims or acquisition of patents or patent
21   applications involving computer vision and/or deep learning for inspecting transportation
22   infrastructure.
23                                           Other Provisions
24         15.    Nothing in this Order shall require production of documents, information,
25   or other material that a Party contends is protected from disclosure by the attorney-client
26   privilege, the work product doctrine, or other privilege, doctrine, or immunity. If
27   documents, information, or other material subject to a claim of attorney-client privilege,
28   work product doctrine, or other privilege, doctrine, or immunity is inadvertently or
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 1   unintentionally produced, such production shall in no way prejudice or otherwise
 2   constitute a waiver of, or estoppel as to, any such privilege, doctrine, or immunity. Any
 3   Party that inadvertently or unintentionally produces documents, information, or other
 4   material that it reasonably believes are protected under the attorney-client privilege, work
 5   product doctrine, or other privilege, doctrine, or immunity may obtain the return of such
 6   documents, information, or other material by promptly notifying the recipient(s) and
 7   providing a privilege log for the inadvertently or unintentionally produced documents,
 8   information, or other material. The recipient(s) shall gather and return all copies of such
 9   documents, information, or other material to the producing Party, except for any pages
10   containing privileged or otherwise protected markings by the recipient(s), which pages
11   shall instead be destroyed and certified as such to the producing Party.
12         16.    Pursuant to Federal Rule of Civil Procedure 26(b)(4)(B), no draft expert
13   reports, notes, outlines, or disclosures leading up to a final expert report are discoverable
14   in whatever form. In addition, where a Party retains independent consultants or experts
15   to further technical or consulting services or to give testimony with respect to the subject
16   matter of this action, the following materials will be deemed to be privileged materials or
17   materials otherwise protected from production based on a claim of privilege (attorney-
18   client, work product, or other privilege) and thus not discoverable:
19                a.     Correspondence between such independent consultants or experts and
20   a party or its outside counsel or its foreign counsel;
21                b.     Drafts of expert reports, declarations, or any other materials drafted
22   by or for such independent consultants or experts regarding the subject matter of this
23   Action or the Foreign Action; and
24                c.     Communications between such independent consultants and experts
25   and a party or its outside counsel or its foreign counsel that are related to drafts and/or
26   revisions of expert reports, declarations, or other materials drafted by or for such
27   independent consultants or experts, or that are related to preparation to testify at a hearing,
28   trial, or deposition in this Action or the Foreign Action.
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 1         Such protections provided herein are to be construed to be in addition to, and shall
 2   not diminish the protections provided in Fed. R. Civ. P. 26(b)(3)-(4). Nothing herein,
 3   however, limits the rights of Parties to examine an expert or consultant concerning the
 4   information he or she relied upon in forming his or her opinions, which information shall
 5   not be privileged.
 6         17.    There shall be no disclosure of any DESIGNATED MATERIAL by any
 7   person authorized to have access thereto to any person who is not authorized for such
 8   access under this Order. The Parties are hereby ORDERED to safeguard all such
 9   documents, information, and material to protect against disclosure to any unauthorized
10   persons or entities.
11         18.    Nothing contained herein shall be construed to prejudice any Party’s right to
12   use any DESIGNATED MATERIAL in taking testimony at any deposition or hearing
13   provided that the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i)
14   eligible to have access to the DESIGNATED MATERIAL by virtue of his or her
15   employment with the designating party, (ii) identified in the DESIGNATED MATERIAL
16   as an author, addressee, or copy recipient of such information, (iii) although not identified
17   as an author, addressee, or copy recipient of such DESIGNATED MATERIAL, has, in
18   the ordinary course of business, seen such DESIGNATED MATERIAL, (iv) a current or
19   former officer, director or employee of the producing Party or a current or former officer,
20   director or employee of a company affiliated with the producing Party, (v) counsel for a
21   Party, including outside counsel, foreign counsel, and in-house counsel (subject to
22   paragraph 9 of this Order), (vi) an independent contractor, consultant, and/or expert
23   retained for the purpose of this litigation, (vii) court reporters and videographers, (viii)
24   the Court, or (ix) other persons entitled hereunder to access to DESIGNATED
25   MATERIAL. DESIGNATED MATERIAL shall not be disclosed to any other persons
26   unless prior authorization is obtained from counsel representing the producing Party or
27   from the Court.
28         19.    Parties may, at the deposition or hearing or within thirty (30) days after
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 1   receipt of a deposition or hearing transcript, designate the deposition or hearing transcript
 2   or any portion thereof as “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES
 3   ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this Order.
 4   Access to the deposition or hearing transcript so designated shall be limited in accordance
 5   with the terms of this Order. Until expiration of the 30-day period, the entire deposition
 6   or hearing transcript shall be treated as confidential, attorneys’ eyes only.
 7         20.    Any DESIGNATED MATERIAL that is filed with the Court shall be filed
 8   under seal and shall remain under seal until further order of the Court. The filing party
 9   shall be responsible for informing the Clerk of the Court that the filing should be sealed
10   and for placing the legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE
11   ORDER” above the caption and conspicuously on each page of the filing. Exhibits to a
12   filing shall conform to the labeling requirements set forth in this Order. If a pretrial
13   pleading filed with the Court, or an exhibit thereto, discloses or relies on confidential
14   documents, information, or material, such confidential portions shall be redacted to the
15   extent necessary and the pleading or exhibit filed publicly with the Court.
16         21.    The Order applies to pretrial discovery. The protections afforded to
17   DESIGNATED MATERIAL at the trial of this Action will be determined by the Court
18   upon application by any party. In the event that any DESIGNATED MATERIAL is
19   otherwise used in any Court proceeding in connection with this Action, the parties shall
20   take all steps reasonably required to protect its confidentiality during such use.
21         22.    A Party may request in writing to the other Party that the designation given
22   to any DESIGNATED MATERIAL be modified or withdrawn. If the designating Party
23   does not agree to redesignation within ten (10) days of receipt of the written request, the
24   requesting Party may apply to the Court for relief. Upon any such application to the Court,
25   the burden shall be on the designating Party to show why its classification is proper. Such
26   application shall be treated procedurally as a motion to compel pursuant to Federal Rules
27   of Civil Procedure 37, subject to the Rule’s provisions relating to sanctions. In making
28   such application, the requirements of the Federal Rules of Civil Procedure and the Local
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 1   Rules of the Court shall be met. Pending the Court’s determination of the application, the
 2   designation of the designating Party shall be maintained.
 3         23.    Each outside consultant or expert to whom DESIGNATED MATERIAL is
 4   disclosed in accordance with the terms of this Order shall be advised by counsel of the
 5   terms of this Order, shall be informed that he or she is subject to the terms and conditions
 6   of this Order, and shall sign an acknowledgment that he or she has received a copy of,
 7   has read, and has agreed to be bound by this Order. A copy of the acknowledgment form
 8   is attached as Appendix A.
 9         24.    To the extent that any discovery is taken of persons who are not Parties to
10   this Action (“Third Parties”) and in the event that such Third Parties contended the
11   discovery sought involves trade secrets, confidential business information, or other
12   proprietary information, then such Third Parties may agree to be bound by this Order.
13         25.    To the extent that discovery or testimony is taken of Third Parties, the Third
14   Parties may designate as “CONFIDENTIAL” or “RESTRICTED – ATTORNEYS’
15   EYES ONLY” any documents, information, or other material, in whole or in part,
16   produced or given by such Third Parties. The Third Parties shall have ten (10) days after
17   production of such documents, information, or other materials to make such a
18   designation. Until that time period lapses or until such a designation has been made,
19   whichever occurs sooner, all documents, information, or other material so produced or
20   given shall be treated as “CONFIDENTIAL” in accordance with this Order.
21         26.    Within thirty (30) days of final termination of this Action or of the Foreign
22   Action, whichever occurs later, including any appeals, all DESIGNATED MATERIAL,
23   including all copies, duplicates, abstracts, indexes, summaries, descriptions, and excerpts
24   or extracts thereof (excluding excerpts or extracts incorporated into any privileged
25   memoranda of the Parties and materials which have been admitted into evidence in this
26   Action), shall at the producing Party’s election either be returned to the producing Party
27   or be destroyed, except that outside counsel for each Party may maintain for its files one
28   copy of each pleading filed with the Court, each deposition transcript together with the
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 1   exhibits marked at the deposition, one copy of each piece of correspondence, one copy
 2   of all expert reports, and one copy of all discovery responses which contain or refer to
 3   DESIGNATED MATERIAL. The receiving Party shall verify the return or destruction
 4   by affidavit furnished to the producing Party, upon the producing Party’s request.
 5          27.    The failure to designate documents, information, or material in accordance
 6   with this Order and the failure to object to a designation at a given time shall not preclude
 7   the filing of a motion at a later date seeking to impose such designation or challenging
 8   the propriety thereof. The entry of this Order and/or the production of documents,
 9   information and material hereunder shall in no way constitute a waiver of any objection
10   to the furnishing thereof, all such objections being hereby preserved.
11          28.    Any Party knowing or believing that any other party is in violation of or
12   intends to violate this Order and has raised the question of violation or potential violation
13   with the opposing party and has been unable to resolve the matter by agreement may
14   move the Court for such relief as may be appropriate in the circumstances. Pending
15   disposition of the motion by the Court, the Party alleged to be in violation of or intending
16   to violate this Order shall discontinue the performance of and/or shall not undertake the
17   further performance of any action alleged to constitute a violation of this Order.
18          29.    Production of DESIGNATED MATERIAL by each of the Parties shall not
19   be deemed a publication of the documents, information, and material (or the contents
20   thereof) produced so as to void or make voidable whatever claim the Parties may have as
21   to the proprietary and confidential nature of the documents, information, or other material
22   or its contents.
23          30.    Nothing in this Order shall be construed to effect an abrogation, waiver, or
24   limitation of any kind on the rights of each of the Parties to assert any applicable
25   discovery or trial privilege.
26          31.    Each of the Parties shall also retain the right to file a motion with the Court
27   (a) to modify this Order to allow disclosure of DESIGNATED MATERIAL to additional
28   persons or entities if reasonably necessary to prepare and present this Action and (b) to
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 1   apply for additional protection of DESIGNATED MATERIAL.
 2         32.    If any Party or person subject to this Order and having possession, custody,
 3   or control of any DESIGNATED MATERIAL produced by another Party receives from
 4   a third party a subpoena to produce such information, the Party to whom the subpoena or
 5   other request is directed shall:
 6         (a) promptly notify in writing (such notification shall include a copy of the
 7   subpoena or court order) every Party who has produced such DESIGNATED
 8   MATERIAL and shall provide each such Party with an opportunity to move for a
 9   protective order regarding the production of DESIGNATED MATERIAL implicated by
10   the subpoena.
11         (b) promptly notify in writing the third party who caused the subpoena or order to
12   issue in the other litigation that some or all of the material covered by the subpoena or
13   order is subject to this Protective Order. Such notification shall include a copy of this
14   Protective Order;
15         (c) cooperate with respect to all reasonable procedures sought to be pursued by the
16   Party who produced the DESIGNATED MATERIAL.
17         33.    Counsel of record, in-house counsel, foreign counsel, and experts for any
18   Party shall not directly or indirectly communicate with any employee, consultant, or
19   representative of an opposing Party about technical subject matter of any kind or any
20   subject matter related to this litigation, except through formal discovery served on outside
21   counsel for the opposing Party.
22         34.    Tetra Tech is precluded from using or relying upon Pavemetrics’ April 21,
23   2021, webinar titled “LRAIL Automated Railway Inspection Software Demo,” including
24   the question and answer portion, in any way in this Action, the Foreign Action, or any
25   other proceeding.
26   ///
27   ///
28   ///
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 1         35.    This Order’s obligations regarding DESIGNATED MATERIAL survive the
 2   conclusion of this case.
 3
 4         IT IS SO ORDERED.
 5
            November 19, 2021
     Dated: __________________            __________________________________
 6
                                          HONORABLE MARIA A. AUDERO
 7                                        UNITED STATES MAGISTRATE JUDGE
 8   Presented by:
 9   CLARK HILL
10   By:        /s/
11         Donald L. Ridge

12   FINNEGAN HENDERSON FARABOW
13   GARRETT AND DUNNER LLP

14
     By: /s/ Aaron L. Parker
15         Aaron L. Parker
           Daniel G. Chung
16         Nicholas A. Cerulli
           Jency J. Mathew
17
     Attorneys for Defendant/Counterclaim Plaintiff
18   TETRA TECH, INC. and TETRA TECH TAS, INC.
19
     KNOBBE, MARTENS, OLSON
20   & BEAR, LLP
21
     By: /s/ Nicholas M. Zovko
22         Joseph R. Re
           Christy G. Lea
23         Nicholas M. Zovko
           Payne McQueen Montgomery
24
     Attorneys for Plaintiff/Counterclaim Defendant
25   PAVEMETRICS SYSTEMS, INC.
26
            SIGNATURE ATTESTATION PURSUANT TO L.R. 5-4.3.4(a)(2)(i)
27
           Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that the other
28
                                              21
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 1   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
 2   content and have authorized this filing.
 3   Dated: November 19, 2021               CLARK HILL LLP
 4
 5
                                             By:              /s/
 6                                                       Donald L. Ridge
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 1                                          EXHIBIT A
 2              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3         I,   _____________________________            [print   or   type   full   name],   of
 4   _________________ [print or type full address], declare under penalty of perjury that I
 5   have read in its entirety and understand the Protective Order that was issued by the
 6   United States District Court for the Central District of California on [date] in the case
 7   of PAVEMETRICS SYSTEMS, INC. v. TETRA TECH, INC., Civil Action No. 2:21-cv-
 8   01289-MCS-MAA. I agree to comply with and to be bound by all the terms of this
 9   Protective Order and I understand and acknowledge that failure to so comply could
10   expose me to sanctions and punishment in the nature of contempt. I solemnly promise
11   that I will not disclose in any manner any information or item that is subject to this
12   Protective Order to any person or entity except in strict compliance with the provisions
13   of this Protective Order.
14         I further agree to submit to the jurisdiction of the United States District Court for
15   the Central District of California for the purpose of enforcing the terms of this Protective
16   Order, even if such enforcement proceedings occur after termination of this action.
17   I hereby appoint __________________________ [print or type full name] of
18   _______________________________________ [print or type full address and
19   telephone number] as my California agent for service of process in connection with this
20   action or any proceedings related to enforcement of this Protective Order.
21   Date: _________________________________
22   City and State where sworn and signed: _________________________________
23   Printed name: ______________________________
24   Title: ______________________________
25   Address: ______________________________
26   Signature: __________________________________
27
28
                                                 23
